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                                                                       United States District Court
                                                                         Southern District of Texas

                                                                            ENTERED
                                                                          October 10, 2024
                                                                         Nathan Ochsner, Clerk

                    UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF TEXAS
                         HOUSTON DIVISION

        SPECTRUM                    § CIVIL ACTION NO
        LABORATORIES LLC,           § 4:22-cv-03705
                 Plaintiff,         §
                                    §
                                    §
              vs.                   § JUDGE CHARLES ESKRIDGE
                                    §
                                    §
        URZ TRENDZ LLC              §
                 Defendants.        §

                                 ORDER

           Pending are three motions. One is by Defendant URZ
       Trendz, LLC, requesting leave to file a motion for summary
       judgment. Dkt 121. Another is by Plaintiff Spectrum
       Laboratories, LLC, for sanctions due to Defendant’s
       conduct during discovery and in this litigation. Dkt 122. A
       third is by Plaintiff for continuance until resolution of the
       sanctions issue. Dkt 125.
           The motion by URZ with respect to summary judgment
       practice is DENIED. Dkt 121. It’s apparent that a significant
       question exists as to URZ’s compliance with discovery
       obligations, including this Court’s prior ruling regarding
       ESI inspection and preservation. See Dkt 118. Those issues
       require resolution first.
           The motion by Spectrum Laboratories for continuance
       and abatement of deadlines is GRANTED. Dkt 125. All
       deadlines are cancelled and will be reset as needed in the
       future.
           The motion by Spectrum Laboratories for sanctions
       against URZ is hereby set for hearing in person
       on December 13, 2024, at 1:30 pm. Dkt 122.
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           SO ORDERED.
           Signed on October 10, 2024, at Houston, Texas.


                                ___________________________
                                Hon. Charles Eskridge
                                United States District Judge




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